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 Attorneys for Defendants Jeffrey Lancaster, Reynold Theriault, &
 Policemen’s Benevolent Association Mainland Local 77 (pleaded as
 “Mainland Local PBA 77”)

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
 ___________________________________
 CHRISTOPHER LEARY,                  : CIVIL ACTION NO.
                                     : 1:23-cv-04070-JHR-SAK
           Plaintiff,                :
                                     :
           vs.                       :
                                     :
 EGG HARBOR TOWNSHIP POLICE          :
 DEPARTMENT, THE TOWNSHIP OF EGG     :
 HARBOR, MAINLAND LOCAL PBA #77,     : ORDER DISMISSING PLAINTIFF’S
 NEW JERSEY STATE ASSOCIATION OF     : COMPLAINT PURSUANT TO
 CHIEFS OF POLICE, STATE OF NEW      : F.R.C.P. 12(b)(6)
 JERSEY, MICHAEL HUGHES,             :
 individually and acting under       :
 color of law, WILLIAM NALLY,        :
 individually and acting under       :
 color of law, JEFFREY LANCASTER,    :
 individually and acting under       :
 color of law, REYNOLD THERIAULT     :
 individually and acting under       :
 color of law, DONNA L MARKULIC,     :
 individually and acting under       :
 color of law, JOHN and JANE         :
 DOES 1-10, ABC CORPORATIONS,        :
 and XYZ STATE ENTITIES.             :
                                     :
           Defendants.               :
 __________________________________ :

       THIS MATTER, having come before the Court by Sciarra &

 Catrambone,    LLC,   attorneys   for   Defendants    Jeffrey    Lancaster,

 Reynold Theriault, & Policemen’s Benevolent Association Mainland
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 Local 77 (pleaded as “Mainland Local PBA 77”) by way of motion in

 lieu of answer to dismiss Plaintiff’s Complaint for failure to

 state a claim pursuant Federal Rule of Civil Procedure 12(b)(6),

 and this Court having considered the papers submitted herewith and

 arguments of counsel, and for good cause having been shown,



       IT IS ON THIS _______ DAY OF _______________________, 20____;



       ORDERED   that   Defendants’        motion   to   dismiss   Plaintiff’s

 Complaint for failure to state a claim is hereby granted; and it

 is further



       ORDERED that Plaintiff’s Complaint is hereby dismissed as to

 Defendants Jeffrey Lancaster, Reynold Theriault, & Policemen’s

 Benevolent Association Mainland Local 77 (pleaded as “Mainland

 Local PBA 77”).




                                    __________________________________
                                    Hon. Joseph H. Rodriguez, U.S.D.J.




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